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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
JANSSEN BIOTECH, INC.,                    )
                        Plaintiff,        )
                                          )
                  v.                      ) Civil Action No. 1:17-cv-11008-MLW
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.,                            )
                        Defendants.       )
_________________________________________ )




              MEMORANDUM IN OPPOSITION TO DEFENDANTS’
              DAUBERT MOTION TO EXCLUDE THE TESTIMONY
           OF JANSSEN’S DAMAGES EXPERT, DR. SEAN NICHOLSON
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                                        INTRODUCTION

       Defendants’ arguments for why this Court should exclude the testimony of Janssen’s

damages expert, Dr. Sean Nicholson, are at odds with this Court’s March 3, 2017 decision on

damages (Case No. 15-cv-10698, Dkt. No. 518), Janssen Biotech, Inc. v. Celltrion Healthcare

Co., 239 F. Supp. 3d 328, 330 (D. Mass 2017). In that decision, this Court explained that

Janssen is “entitled to compensation for reasonably foreseeable lost profits that it would not have

suffered ‘but for’ the defendant's infringement.” Janssen Biotech, 239 F. Supp. 3d at 330 (citing

Rite-Hite Corp. v. Kelley Co., 56 F. 3d 1538, 1545 (Fed. Cir. 1995) (en banc)). This decision

defeats Defendants’ arguments.

       Defendants argue that Dr. Nicholson’s analysis is deficient because he did not

“apportion” Janssen’s damages to reflect the relative contribution of the ‘083 patent to Inflectra’s

overall value, as compared to the value contributed by other technology. Defendants previously

raised the same argument, and this Court rejected it in its March 3, 2017 decision. The

apportionment approach that Defendants advocate applies in cases, unlike this one, where a

patentee seeks lost profits on a multi-component product. But here, Janssen’s contention is that

the patented cell media is a predicate for Inflectra’s existence. Once Janssen establishes that

there are no non-infringing alternatives to the patented media (an issue the parties have briefed

separately), it will follow as a matter of course that Defendants’ use of the patented media is the

but-for cause of Janssen’s lost profits due to Inflectra. Under controlling Federal Circuit

authority, proof of but-for causation is sufficient on these facts to account for apportionment.

       Defendants’ other argument concerns the Panduit factors, which are derived from the

Sixth Circuit decision in Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156

(6th Cir. 1978). The Panduit factors are one way – but not the only way – to analyze whether a

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defendants’ infringing acts are the “but-for” cause of a patentee’s lost profits. Here, if Janssen

shows that there are no non-infringing alternatives, then here will be no further room for doubt

that Defendants’ infringement is the “but-for” cause of Janssen’s lost profits. The Panduit

factors are framed to address the situation where a patentee seeks lost profits on sales of a

product covered by the patent-in-suit. Those factors needed to be adapted to address the

different situation presented here because Janssen’s lost profits result from sales of a product

made by using the patented cell media – not directly from sales of the patented product. Dr.

Nicholson appropriately adapted the Panduit factors to the circumstances of this case.

         Dr. Nicholson’s report is consistent in all respect with controlling law. There is no basis

for striking his testimony.

                                          BACKGROUND

A.       Janssen’s Lost Profits Resulting from Defendants’ Infringement

         At trial, Janssen will demonstrate that Defendants infringed the ‘083 patent by using

infringing cell media to make Inflectra. Inflectra is biosimilar to Janssen’s drug Remicade and is

marketed and sold in direct competition with Remicade.

         Defendants’ infringing use of the patented cell media caused Janssen to lose profits that it

would have earned on Remicade but for the infringement. Janssen’s lost profits include:

(1) diminished Remicade sales, which reduce Janssen’s profits; and (2) price erosion due to a

reduction in the prices that Janssen charges for Remicade. The Federal Circuit has recognized

both forms of lost profits. See Fiskars, Inc. v. Hunt Mfg. Co., 221 F.3d 1318, 1324–26 (Fed. Cir.

2000).

         Defendants’ infringement of the ‘083 patent is the but-for cause of Janssen’s injuries. As

Janssen demonstrated in its Motion for Summary Judgment on the Issue of Non-Infringing

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Alternatives, Dkt. 246, Defendants did not have an acceptable, readily available non-infringing

substitute for the patented cell media. If that motion is denied, then Janssen will prove the

absence of non-infringing alternatives at trial. Once that showing is made, it will follow that

Defendants would not have been able to make Inflectra or sell it in competition with Remicade if

they had not used the infringing cell media. In short, their infringing acts are the predicate for

Inflectra’s existence and therefore the but-for cause of Janssen’s claimed damages.

B.     Dr. Nicholson’s Opinions on Damages

       Janssen’s damages expert, Dr. Sean Nicholson, is a Ph.D. economist and a Professor of

economics at Cornell University. His work focuses on the economics of the healthcare industry,

with an emphasis on the biotechnology and pharmaceutical and biologics sectors.

       Dr. Nicholson provided an expert report dated January 19, 2018 (Ex. 1) and a

supplemental expert report dated March 20, 2018 (Def. Ex. 11). In these reports, Dr. Nicholson

did not provide an independent opinion as to whether there were non-infringing alternatives to

the patented cell media. This question was addressed by Janssen’s other experts, Dr. Michael

Butler and Dr. Richard Lit. For his part, Dr. Nicholson assumed, for purposes of lost profits, that

there were no non-infringing alternatives. Ex. 1 ¶ 48. Dr. Nicholson then calculated the

damages needed to compensate Janssen for Defendants’ infringing use of the cell media claimed

in the ‘083 patent. Those damages include lost profits and a reasonable royalty for any sales of

Inflectra that would not be subject to an award of lost profits.

       In addressing lost profits, Dr. Nicholson explained that Defendants’ “use of the patented

cell media to manufacture Inflectra™ for sale in the U.S. is the ‘but-for’ cause” of Janssen’s lost

profits and those lost profits “are the ‘reasonably foreseeable’ result of the infringement.” Ex. 1

¶ 42. Dr. Nicholson applied sound economic principles in calculating Janssen’s resulting lost

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profits. Dr. Nicholson’s damages analysis is consistent in all respects with this Court’s March 3,

2017 decision and controlling case law from the Federal Circuit.

C.      This Court’s March 3, 2017 Decision on Damages

        On February 23-24, 2017, this Court held a hearing on the appropriate standard for

damages in this case. In that hearing, Defendants raised the same “apportionment” argument that

they raise in this motion. See Case No. 15-cv-10698, Dkt. No. 515 (2/23/17 H’g Tr.) 94:1−3,

141:8−9. In their papers, they also argued that the cell culture media does not “‘drive consumer

demand’ for Inflectra,” Case No. 15-cv-10698, Dkt. No. 414 at 6, precisely the same argument

they make here in arguing that damages must be apportioned. Dkt. 240 at 15 (arguing that “the

accused media. . . does not ‘drive demand’ for infliximab”).

        In its March 3, 2017 Order, this Court rejected Defendants’ approach. As this Court held,

a patentee is “entitled to compensation for reasonably foreseeable lost profits that it would not

have suffered ‘but for’ the defendant's infringement.” Janssen Biotech, 239 F. Supp. 3d at 330

(citing Rite-Hite, 56 F. 3d at 1545). This Court also stated: “The fact that Remicade is not now

itself patented . . . does not affect plaintiff's entitlement to damages, including lost profits, for any

proven infringement of the ‘083 Patent.” Id. at 331. As the Court explained:

                A patentee may recover damages in the form of lost profits to
                compensate for sales of an unpatented product (i.e., Remicade) lost
                to an infringer's non-infringing product (i.e., Inflectra), if the
                infringer could only have captured the patentee's sales by
                infringing the patent by, in this case, using an infringing powder.
                See Micro-Chem. Inc. v. Lextron, Inc., 318 F. 3d 1119, 1125−26
                (Fed. Cir. 2003).

Id. This Court then stated:

                More specifically, a patentee is entitled to lost profits, even on
                unpatented products, if a competitor makes the sales-capturing
                end-product using an infringing method or product, where the
                competitor could have only captured the sales by infringing the
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               patent. See Minco Inc. v. Combustion Eng'g, 95 F. 3d 1109, 1119
               (Fed. Cir. 1996).

Id.; see also Case No. 15-cv-10698, Dkt. No. 516 (2/24/17 H’g Tr) at 8:21−25 (“In this case, but

for the infringement of the '083 patent . . . and the resulting production and sales of Inflectra in

the U.S., the plaintiff Janssen would have sold more Remicade, as was foreseeable, and would

have made more profit.”).

       As this Court recognized, the principles set forth in this Court’s March 3, 2017 decision

are consistent with controlling caselaw from the Federal Circuit. See Janssen Biotech, 239

F. Supp. 3d at 331 (citing Micro-Chem. Inc. v. Lextron, Inc., 318 F. 3d 1119, 1125−26 (Fed. Cir.

2003) (holding that lost profits damages were properly awarded where it was “reasonably

foreseeable” that infringement would cause plaintiff to lose sales of an unpatented product), and

Minco, Inc. v. Combustion Eng'g, 95 F. 3d 1109, 1119 (Fed. Cir. 1996) (holding that damages

were properly based on sales of unpatented fused silica made using patented rotary furnace)).

       Defendants have acknowledged the controlling force of this Court’s March 3, 2017

decision. In a telephone conference on December 5, 2017, the Court asked whether Defendants

were “content to leave” that decision intact. Defendants responded: “That's correct.” Dkt. No.

97 (12/5/17 H’g Tr.) at 28:8−13.

                                           ARGUMENT

I.     DR. NICHOLSON’S DAMAGES ANALYSIS IS CONSISTENT
       WITH CONTROLLING LAW AND SHOULD NOT BE EXCLUDED

       A.      The Daubert Standard

       The admissibility of expert testimony is governed by Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579 (1993), and by Federal Rule of Evidence 702. To pass muster under Daubert,

an expert’s testimony must “rest[] on a reliable foundation and [be] relevant to the task at hand.”

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509 U.S. at 597. “To determine whether testimony is sufficiently reliable . . . a district court

must determine the whether it is ‘based on sufficient facts or data,’ was ‘the product of reliable

principles and methods,’ and whether the expert ‘reliably applied the principles and methods to

the facts of the case.” Packgen v. Berry Plastics Corp., 847 F.3d 80, 85 (1st Cir. 2017) (quoting

Fed. R. Evid. 702). “Exactly what is involved in ‘reliability’ . . . must be tied to the facts of a

particular case.” Id. (quoting Milward v. Acuity Specialty Prods. Grp., Inc., 639 F.3d 11, 14−15

(1st Cir. 2011)). “So long as an expert's scientific testimony rests upon good grounds, based on

what is known, it should be tested by the adversarial process, rather than excluded . . . .” Id.

(internal quotation marks omitted) (quoting Daubert, 509 U.S. at 590).

       B.      “Apportionment” Principles Are Inapplicable Here

               1.      Dr. Nicholson’s Opinions are Consistent with Controlling Case
                       Law and This Court’s Prior Decision on Damages

       Defendants argue that Dr. Nicholson’s damages analysis should be excluded because he

has not “apportioned” Janssen’s claim damages to reflect the contribution of the patented

technology relative to the overall value of Remicade. Dkt. No. 240 at 9.

       Janssen recently addressed the apportionment issue in its Damages Motion In Limine No.

8 to bar evidence and argument that its claimed damages are subject to apportionment. Dkt. No.

267. That in limine motion and this motion address closely related issues.

               2.      Proof of But-for Causation Adequately Accounts for
                       Apportionment

       The Federal Circuit’s decision in Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d

1275 (Fed. Cir. 2017), is directly on point and defeats Defendants’ argument. Mentor Graphics

makes clear that in cases such as this any concern about “apportionment” is adequately addressed

by proof of but-for causation.

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        The infringer in Mentor Graphics argued – as Defendants argue here – that the patentee

should first “calculate the amount of profits it lost as a result of the infringement” and then

“apportion its lost profits to cover only the patentee’s inventive contribution.” Id., 851 F.3d at

1287. The Federal Circuit rejected that approach. It held that proof of but-for causation under

the Panduit test “satisfies principles of apportionment.” Mentor Graphics, 851 F.3d at 1288. As

the Federal Circuit explained, a showing of but-for causation sufficiently attributes the

appropriate value to the patent, with no need to further “apportion.” Id.

        Other cases are consistent with Mentor Graphics. See Rite-Hite, 56 F.3d at 1548

(“[Defendants’] concern that lost profits must relate to the ‘intrinsic value of the patent’ is

subsumed in the ‘but for analysis; if the patent infringement had nothing to do with lost sales,

‘but for’ causation would not have been proven.”); Minco, 95 F.3d at 1119 (holding that the

district court’s finding that plaintiff “had a reasonable probability of making . . . sales but for the

infringement” was sufficient to support lost profits award); Paper Converting Mach. Co. v.

Magna-Graphics Corp., 745 F.2d 11, 22−23 (Fed. Cir. 1984) (declining to further apportion a

lost profits award because the patentee proved it would have made the sales in question but for

the infringing sales).

        The Federal Circuit’s reasoning in Mentor Graphics applies to but-for causation

generally and is not restricted to cases where the Panduit factors are used to establish but-for

causation because other methods of proving but-for causation could also “adequately

incorporate[] apportionment principles” and “there is no particular required method to prove but

for causation.” Mentor Graphics, 851 F.3d at 1288. Here, as in Mentor Graphics, Janssen’s

showing of but-for causation sufficiently addresses any concern about apportionment. Any

further attempt to apportion damages is not required and would thwart the patentee’s right to

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“full compensation for ‘any damages’ [the patent owner] suffered as a result of the

infringement.” Grain Processing Corp. v. American Maize-Prods. Co., 185 F.3d 1341, 1349

(Fed. Cir.1999) (quoting General Motors Corp. v. Devex Corp., 461 U.S. 648, 654 (1983)).

       Rather than accept the controlling authority of Mentor Graphics, 851 F.3d at 1288,

Defendants rely on a separate concurrence and dissent from the denial of rehearing en banc in

that case. Dkt. 240 at 1 (citing Mentor Graphics Corp. v. EVE-USA, Inc., 870 F.3d 1298, 1301

(Fed. Cir. 2017) (Dyk, J., dissenting from the denial of rehearing)); id. at 15 (citing Mentor

Graphics, 870 at 1299 (Stoll, J., concurring in the denial of rehearing)). Needless to say, those

opinions are not controlling precedent here. Judge Stoll’s concurring opinion is discussed below

at page 10, and it actually provides further support for Janssen’s position.

       Astrazeneca AB v. Apotex Corp., 782 F.3d 1324 (Fed. Cir. 2015), is also instructive. In

that case, the infringer argued that the district court erred by failing to apportion damages

between the active ingredient of a pharmaceutical product and the patented coating for the pill.

The Federal Circuit held that apportionment would be inappropriate because the patented coating

“made it possible for drug manufacturers to commercialize” the product and “created a new,

commercially viable . . . drug.” Id. at 1340. The same reasoning applies here because the

infringing cell media allows Defendants to manufacture and commercialize their biosimilar.

       In CardioNet, LLC v. ScottCare Corp., C.A. No. 12-2516, 2017 U.S. Dist. LEXIS

173622 (E.D. Pa. Oct. 19, 2017), the district court rejected the argument that Defendants raise

here. The court in that case denied a motion to exclude the testimony of the patentee’s damages

expert for failure to apportion. Applying Mentor Graphics, the court stated that it “cannot

conclude that [plaintiff’s damages expert’s] methodology is flawed due to her failure to



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apportion.” Id. at *16. As the court explained, proving but-for causation “is a highly factual

determination that must be made by the trier of fact.” Id.

       Dr. Nicholson’s analysis of lost profits is consistent with these cases and this Court’s

holding that “[a] patentee may recover damages in the form of lost profits to compensate for

sales of an unpatented product (i.e., Remicade) lost to an infringer’s non-infringing product (i.e.,

Inflectra), if the infringer could only have captured the patentee's sales by infringing the patent

by, in this case, using an infringing powder.” Janssen Biotech, 239 F. Supp. 3d at 331. It also is

consistent with Federal Circuit cases holding that a defendant may be liable for the reasonably

foreseeable damages resulting from lost sales of an unpatented product. See Micro Chem., Inc. v.

Lextron, Inc., 318 F. 3d 1119, 1125−26 (Fed. Cir. 2003) (holding that lost profits damages were

properly awarded where it was “reasonably foreseeable” that infringement would cause plaintiff

to lose sales on unpatented product); Minco, Inc. v. Combustion Eng’g, 95 F. 3d at 1119 (holding

damages were properly based on sales of unpatented fused silica made using a patented furnace).

Defendants’ “apportionment” theory is not applicable here and does not provide any basis for

striking Dr. Nicholson’s testimony.

               3.      This Case Is Unlike the Multi-Component Cases That
                       Defendants Cite

       The cases cited by Defendants requiring apportionment uniformly involved an inapposite

situation where the patent-in-suit covered one component or feature of a product with many

components or features – such as a flashlight app on a cell phone or keyless ignition for an

automobile. Apportionment is appropriate in such cases. See, e.g., Ericsson, Inc. v. D-Link Sys.,

Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014) (explaining that where “accused infringing products

have both patented and unpatented features” a damages calculation requires “a determination of

the value added by such features.”); VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1326 (Fed.
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Cir. 2014) (“[W]hen claims are drawn to an individual component of a multi-component product,

it is the exception, not the rule, that damages may be based upon the value of the multi-

component product.”); LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67 (Fed. Cir.

2012) (applying apportionment requirement to “any case involving multi-component products”)

(emphases added).

       As the Federal Circuit explained in Mentor Graphics, in cases involving multi-feature

products, an available non-infringing alternative will always exist in the form of “the infringing

product without the patented feature.” 851 F.3d at 1286. This logic also accounts for the entire

market value rule, which requires the plaintiff to show that the entire value of a multi-component

product is attributable to the patented component – essentially requiring proof that the infringing

multi-component product without the patented component is not an acceptable alternative.

       As noted above, Defendants cite Judge Stoll’s concurrence in the denial of rehearing in

Mentor Graphics. Dkt. No. 240 at 15. Judge Stoll’s concurrence reinforces the conclusion that a

showing of but-for causation adequately accounts for apportionment here. As Judge Stoll noted,

the Federal Circuit has required apportionment in cases unlike this one, “where an infringing

product is a multi-component product with patented and unpatented components . . . .” Mentor

Graphics, 870 F.3d at 1299 (emphasis added). Judge Stoll also explained that the panel’s

decision in Mentor Graphics did not broadly do away with the apportionment principle, but

rather held that proving the first two Panduit factors (and, thus, but-for causation) adequately

accounted for apportionment. See id. at 1300.

       As Judge Stoll noted, the apportionment principle has its roots in Garretson v. Clark, 111

U.S. 120 (1884), again a multi-feature product case, where the Supreme Court held that the

patentee must “apportion the defendant’s profits and the patentee’s damages between the

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patented feature and the unpatented features.” Id., 111 U.S. at 121 (emphasis added); see also

Westinghouse Elec. & Mfg. Co. v. Wagner Elec. & Mfg. Co., 225 U.S. 604, 614-15 (1912)

(explaining that Garretson applies where “the plaintiff’s patent is only a part of the machine”).

       This case does not present the multi-component scenario addressed in Ericsson and

similar cases. As discussed above, Defendants used the ‘083 invention to make their infliximab

biosimilar. Defendants are entitled to contend that there would have been acceptable non-

infringing alternatives, although as Janssen argues elsewhere their proof on this issue fails as a

matter of law. Dkt. No. 246. But once it is established that there were no non-infringing

alternatives, the patented product is clearly the but-for cause of Janssen’s lost profits. Without

the infringing cell culture media, Inflectra would not exist. The patented technology is a

necessary predicate to the existence of Defendants’ Inflectra product – not just one component of

a multi-component product. None of the cases Defendants rely on involved a similar situation.

Here, as in Mentor Graphics, proof of but-for causation is sufficient and further analysis of

apportionment is not required. This situation is governed by cases such as Micro-Chem and

Minco, which this Court relied on those cases in its March 3, 2017 decision. That decision

correctly applies the principle described in Mentor Graphics. “Apportionment” has no

application here. See Mentor Graphics, 851 F.3d at 1287−88.

               4.      Defendants Do Not Present a Basis for Excluding
                       Dr. Nicholson’s Opinions on a Reasonably Royalty

       Under section 284 of the patent statute, 35 U.S.C. § 284, Janssen is entitled to a

“reasonable royalty” on any sales of Inflectra made by infringing use of the patented cell media

that are not the subject of an award of lost profits damages. In his expert report, Dr. Nicholson

applied the “hypothetical negotiation” framework that is applicable in assessing a reasonable

royalty. See Ex. 1 ¶¶ 93−158; see Fujifilm Corp. v. Benun, 605 F.3d 1366, 1372 (Fed. Cir. 2010).
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       Defendants recycle their “apportionment” argument in criticizing Dr. Nicholson’s

reasonable royalty analysis. Dkt. 240 at 19–20. But that theory does not provide a basis for

excluding Dr. Nicholson’s opinion on a reasonable royalty. Dr. Nicholson’s opinion that Janssen

is entitled to a reasonable royalty that reflects the fact that Defendants would not be able to sell

Inflectra for a period of time without using the infringing media is supported by the law. See,

e.g., Aqua Shield v. Inter Pool Cover Team, 774 F.3d 766, 770 (Fed. Cir. 2014) (explaining that

defendants’ anticipated profits made by infringing determines possible willingness to pay in

hypothetical negotiation); Trell v. Marlee Elecs. Corp., 912 F.2d 1443, 1446 (Fed. Cir. 1990) (“In

determining the result of such a hypothetical negotiation, the district court may consider the

infringer's anticipated profits.”). Defendants have their own arguments, primarily based on the

alleged possibility of designing around the ‘083 patent without delaying the launch of Inflectra.

After hearing the evidence, the jury can decide what royalty is appropriate.

       Defendants also miss the mark when they argue that the reasonable royalties must be

based on the “smallest salable patent-practicing unit” of an infringing product and that the cell

media is that unit. Dkt. 240 at 19. The “smallest salable unit principle” – like Defendants’

“apportionment” theory on lost profits – only applies in “case[s] involving multi-component

products.” Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1310 (Fed. Cir. 2018) (internal

quotation marks omitted). That principle has no application here because the patented cell

culture media is a necessary predicate for the existence of Inflectra – it is not a component of

Inflectra. Basing a reasonable royalty on sales of Inflectra is perfectly reasonable and

appropriate where Defendants used the ‘083 invention to make Inflectra. See Minco, 95 F.3d at

1119-20 (awarding a reasonable royalty as well as lost profits on sales of unpatented fused silica

made used patented furnace).

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       C.      Dr. Nicholson Properly Adapted the Panduit Factors to the Facts of
               This Case

       Defendants also argue that Dr. Nicholson’s lost profits analysis should be excluded

because he supposedly misapplied the Panduit factors. Dkt. No. 240 16−19. But, as Dr.

Nicholson acknowledged, the Panduit factors are “not the sine qua non for proving ‘but for’

causation.” Ex. 1 ¶ 41 (quoting Rite-Hite, 56 F.3d at 1548). He appropriately adapted the

Panduit factors to the facts of this case.

       “To recover lost profits damages, the patentee must show a reasonable probability that

‘but for’ the infringement, it would have made the sales that were made by the infringer.” Rite-

Hite, 56 F.3d at 1545; see also Janssen Biotech, 239 F. Supp. 3d at 330 (stating that a patentee is

entitled to recover reasonably foreseeable lost profits that it “would not have suffered ‘but for’

the defendant’s infringement.”) (citing Rite-Hite, 56 F. 3d at 1545). “There is no particular

required method to prove but for causation.” Georgetown Rail Equip. Co. v. Holland LP, 867

F.3d 1229, 1241 (Fed. Cir. 2017) (quoting Mentor Graphics, 851 F.3d at 1284). The Panduit

test is “[o]ne useful, but non-exclusive method to establish the patentee’s entitlement to lost

profits . . . .” Id. (quoting Mentor Graphics, 851 F.3d at 1284); see also Rite-Hite, 56 F. 3d at

1545 (same). “But-for” causation can also be shown in other ways, through other methods of

proof. Rite-Hite, 56 F.3d at 1548.

       Where a patentee satisfies the Panduit factors, a court may “reasonably infer that the lost

profits claimed were in fact caused by the [defendants’] sales, thus establishing a patentee’s

prima facie case with respect to ‘but for’ causation.” Rite-Hite, 56 F. 3d at 1545. “When the

patentee establishes the reasonableness of this inference, e.g., by satisfying the Panduit test, it

has sustained the burden of proving entitlement to lost profits . . . .” Id.


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       The Panduit factors include: “(1) demand for the patented product; (2) absence of

acceptable non-infringing substitutes; (3) manufacturing and marketing capability to exploit the

demand; and (4) the amount of profits it would have made.” Rite-Hite, 56 F.3d at 1545 (quoting

Panduit, 575 F.2d at 1156). The Panduit test is framed to address the typical situation “whe[re]

a patentee is seeking lost profits for a device covered by the patent in suit.” Rite-Hite, 56 F.3d at

1548. “[O]ther fact situations may require different means of evaluati[ng] [but-for causation],

and failure to meet the Panduit test does not ipso facto disqualify a loss from being

compensable.” Id. “If there are other ways to show that the infringement in fact caused the

patentee’s lost profits, there is no reason why another test should not be acceptable.” Id.

       In this case, it is necessary to adapt the Panduit factors because Janssen’s lost profits

relate to a product (Remicade) that competes with Defendants’ Inflectra biosimilar, which

Defendants made by infringing the patent-in-suit. Dr. Nicholson appropriately adapted the

Panduit factors to address that situation. In particular, Dr. Nicholson considered demand for

Remicade and demand for the patented cell media in considering Panduit factor No. 1 (“demand

for the patented product”). He considered alternatives to the patent cell media in considering

Panduit factor No. 2 (“absence of acceptable non-infringing substitutes”). He considered

Janssen’s capability to satisfy the demand for Inflectra/Remicade in considering Panduit factor

No. 3 (“manufacturing and marketing capability to exploit the demand”). And he considered the

Remicade profits that Janssen would have made but-for the infringement in considering Panduit

factor No. 4 (“the amount of profits it would have made.”). See Ex. 1 ¶¶ 40–58. This was an

appropriate adaptation of the Panduit factors to the facts of this case.

       Defendants criticize Dr. Nicholson for considering alternatives to the patented cell media

in applying Panduit factor No. 2 and Janssen’s ability to satisfy additional demand for Remicade

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in applying Panduit factor No. 3. This criticism misses the point. As discussed above, the

Panduit factors were framed to address the typical situation “whe[re] a patentee is seeking lost

profits for a device covered by the patent in suit,” Rite-Hite, 56 F.3d at 1548, and this case

presents a different situation where Janssen is seeking to recover lost profits of Remicade that

resulted from sales of a competing product (Inflectra) that is manufactured by infringing use of

the patented cell media. Dr. Nicholson cannot fairly be criticized for adapting the Panduit

factors to reflect the facts of this case.

        At bottom, Defendants’ arguments about the Panduit factors are unconnected to

commercial realities. There is no doubt that Defendants’ infringing use of the patented cell

media is the “but-for” cause of the lost profits that Janssen seeks. Dr. Nicholson’s adaptation of

the Panduit factors to the atypical facts of this case is consistent with Federal Circuit’s

recognition that “[i]f there are other ways to show that the infringement in fact caused the

patentee’s lost profits, there is no reason why another test should not be acceptable.” Rite-Hite

56 F.3d at 1548. It is not a basis for excluding his testimony on lost profits. See Radware, Ltd.

v. F5 Networks, Inc., No. 13-cv-02024-RMW, 2016 U.S. Dist. LEXIS 18010, at *55-57 (N.D.

Cal. Feb. 13, 2016) (denying a motion to exclude the testimony of a damages expert on the

theory that the expert misapplied the first Panduit factor as requiring a showing that the patented

feature drives demand, and stating that “demand for the patented feature may still be relevant to

. . . the ‘but for’ analysis as a whole.”).

        Defendants cite AAMP of Florida, Inc v. Automotive Data Solutions, Inc., No. 13-cv-

2019, 2015 WL 12843845 (M.D. Fla. Oct. 8, 2015), to justify the exclusion of Dr. Nicholson’s

opinions, but that case involved an different situation where the challenged expert admitted that

his opinion was “based on an incorrect legal standard” and disavowed his opinion “when

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confronted with the correct legal standard.” Id. at *9. In contrast, Dr. Nicholson’s adaptation of

the Panduit factors to the facts of this case is appropriate and consistent with Federal Circuit

cases.

                                         CONCLUSION

         This Court should deny Defendants’ motion to exclude Dr. Nicholson’s testimony.

Dated: May 25, 2018

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                                 CERTIFICATE OF SERVICE

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                                                      /s/ _Alison C. Casey___________________
                                                      Alison C. Casey
